             Case 2:17-cr-00087-TSZ          Document 36      Filed 05/31/17    Page 1 of 1




 1                                                                  JUDGE THOMAS S. ZILLY
 2
 3
 4
                               UNITED STATES DISTRICT COURT
 5
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT SEATTLE

 7   UNITED STATES OF AMERICA,                       )   NO. CR17-087-TSZ
                                                     )
 8                    Plaintiff,                     )
                                                     )   ORDER GRANTING UNOPPOSED
 9              vs.                                  )   MOTION TO EXTEND PRETRIAL
                                                     )   MOTIONS DEADLINE
10   FREDY GUTAMA-GUTAMA,                            )
                                                     )
11                    Defendant.                     )
                                                     )
12                                                   )
13          THE COURT, having considered the unopposed motion to extend the deadline
14   for pretrial motions, docket no. 35, GRANTS the motion.
15          IT IS ORDERED that the due date for pretrial motions is extended from May 26,
16   2017 to June 20, 2017.
17          DONE this 31st day of May, 2017.
18
19
                                                          A
                                                          Thomas S. Zilly
20                                                        United States District Judge
21
22   Presented by:
23
     s/ Gregory Geist
24   Assistant Federal Public Defender
     Attorney for Fredy Gutama-Gutama
25
26

                                                                    FEDERAL PUBLIC DEFENDER
      ORDER TO EXTEND PRETRIAL                                         1601 Fifth Avenue, Suite 700
      MOTIONS DEADLINE - 1                                               Seattle, Washington 98101
      (U.S. v. Fredy Gutama-Gutama, CR17-087-TSZ.)                                  (206) 553-1100
